Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 1 of 29 PageID #:7




                   Exhibit A
 Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 2 of 29 PageID #:7

                                                                       Service of Process
                                                                       Transmittal
                                                                       06/03/2019
                                                                       CT Log Number 535603467
TO:     Ken Murata
        Samsung Electronics America, Inc.
        85 Challenger Rd Fl 7
        Ridgefield Park, NJ 07660-2118

RE:     Process Served in Illinois

FOR:    Samsung Electronics America, Inc. (Domestic State: NY)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 Lashoyna Taylor, Pltf. vs. Samsung Electronics America, Inc., etc., et al., Dfts.
DOCUMENT(S) SERVED:              Summonses, Complaint, Jury Demand, Affidavit
COURT/AGENCY:                    Cook County Circuit Court - County Department - Law Division, IL
                                 Case # 2019L005640
NATURE OF ACTION:                Product Liability Litigation - Manufacturing Defect - Galaxy S7 Edge
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:        By Process Server on 06/03/2019 at 15:18
JURISDICTION SERVED :            Illinois
APPEARANCE OR ANSWER DUE:        Within 30 days after service, not counting the day of service
ATTORNEY(S) / SENDER(S):         Jeffrey C. Schwartz
                                 Kralovec, Jambois & Schwartz
                                 60 W. Randolph St., 4th Floor
                                 Chicago, IL 60601
                                 312-782-2525
ACTION ITEMS:                    SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780114194072

                                 Image SOP

                                 Email Notification, Ken Murata ken.murata@sea.samsung.com

                                 Email Notification, Christopher Low clow@sea.samsung.com

                                 Email Notification, Gabriel Ramos g.ramos@partner.sea.samsung.com
                                 Email Notification, Alessandra Schneider alessandra.s@sea.samsung.com

                                 Email Notification, Richard Rosalez r.rosalez@SEA.samsung.com

                                 Email Notification, Michael Sharples m.sharples@sea.samsung.com

                                 Email Notification, Jordan Flournoy j.flournoy@sea.samsung.com

                                 Email Notification, Chris Park jinho01.park@sea.samsung.com




                                                                       Page 1 of 2 / JR
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
 Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 3 of 29 PageID #:7

                                                                    Service of Process
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                                                                    06/03/2019
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TO:    Ken Murata
       Samsung Electronics America, Inc.
       85 Challenger Rd Fl 7
       Ridgefield Park, NJ 07660-2118

RE:    Process Served in Illinois

FOR:   Samsung Electronics America, Inc. (Domestic State: NY)




                                Email Notification, Gary Tulp gary.tulp@sea.samsung.com

                                Email Notification, Rachel S Harris r.harris@sea.samsung.com

SIGNED:                         C T Corporation System
ADDRESS:                        208 South LaSalle Street
                                Suite 814
                                Chicago, IL 60604
TELEPHONE:                      312-345-4336




                                                                    Page 2 of 2 / JR
                                                                    Information displayed on this transmittal is for CT
                                                                    Corporation's record keeping purposes only and is provided to
                                                                    the recipient for quick reference. This information does not
                                                                    constitute a legal opinion as to the nature of action, the
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                   Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 4 of 29 PageID #:7


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      2420 - Served By Publication           2421 - Served By Publication                                     CIRCUIT CLERK
      Summons - Alias Summons                                                            (06/28/18) CCG 0001 COOK COUNTY, IL
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S                                                                                                             2019L005640
to
8                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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CM
      LASHOYNA TAYLOR
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Q.                                                                                         <CaseNumbeP‘>
•M-                                                  (Name all parties)       Case No.
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                                       V.
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      SAMSUNG ELECTRONICS AMERICA, INC, et al.
to                                                                         SAMSUNG ELECTRONICS
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H                                                                          AMERICA, INC
<                                                0 SUMMONS □ ALIAS SUMMONS R/A: CT Corp. Systems 208 So.
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      To each Defendant:                                                   LaSalle St., Suite 814 Chicago, IL
n:
                                                                           60604
      YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise
      file your appearance and pay the required fee within thirty (30) days after service of this Summons, not counting the day of service.
      To file your answer or appearance you need access to the internet. Please visit www.cookcountvclerkofcourt.org to initiate this process.
      Kiosks with internet access are available at aU Clerk’s Office locations. Please refer to the last page of this document for location
      information.
      If you fail to do so, a judgment by default may be entered against you for the rehef requested in the complaint.
      To the Officer:
      This Summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and fees,
      if any, immediately after service. If service cannot be made, this Summons shall be returned so endorsed. This Summons may not be
      served later than thirty (30) days after its date.

      E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an account
      with an e-filing service provider. Visit https; //efile.illinoiscourts.gov/seivice-providers.htm to learn mote and to select a
      service provider. If you need additional help or have trouble e-fUing, visit http://www.illmoiscourts.gov/FAQ/gethelp.asp.

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                                                                              Witness:


                                                                                                                         __________________________
      A tty. No.: 24797                                                                                                    of Court
      Atty Name: Kralovec, Jambois & Schwartz
                                                                                                        ;A te       ro

                                                                              Date of Service:
      Atty. for:. _Plaintiff                                                  (To be inserted by officer mT^py left with Defendant
      Address: 60 W. Randolph St., 4th Floor                                  or other person):
      City: Chicago                                        State:
      Zip: 60601
      Telephone: 312-782-2525
      Primary Email: j s chwartz (§kj s-law. com
      Secondary Email: chenry@kj s -law. com
      Tertiary Email: kbarrette(§kj s-law. com
            Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                         cookcountyclerkofcourt.org
                                                                       Page 1 of 2
               Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 5 of 29 PageID #:7




               CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


     o   Richard J Daley Center                           O       Domestic Relations Division
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         50 W Washington                                          Richard J Daley Center
         Chicago, IL 60602                                        50 W Washington, Rm 802
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                                                                  Chicago, IL 60602
     o   District 2 - Skokie
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         5600 Old Orchard Rd
         Skokie, IL 60077                                 O       Civil Appeals
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     o   Distdct 3 - Rolling Meadows
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     o   District 4 - Maywood
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                                                                  50 W Washington, Rm 1006
     o   District 5 - Bridgeview                                  Chicago, IL 60602
         10220 S 76th Ave                                         Hours; 8:30 am - 4:30 pm
         Bridgeview, IL 60455
                                                          O       County Division
     o   District 6 - Markham                                     Richard J Daley Center
         16501 S Kedzie Pkwy                                      50 W Washington, Rm 1202
         Markham, IL 60428                                        Chicago, IL 60602
     o   Domestic Violence Court                                  Hours: 8:30 am - 4:30 pm
         555 W Harrison                                   O       Probate Division
         Chicago, IL 60607                                        Richard J Daley Center
     o   Juvenile Center Budding                                  50 W Washington, Rm 1202
         2245 W Ogden Ave, Rm 13                                  Chicago, IL 60602
         Chicago, IL 60602                                        Hours: 8:30 am - 4:30 pm
     o   Criminal Court Building                           ®      Law Dmsion
         2650 S California Ave, Rm 526                            Richard J Daley Center
         Chicago, IL 60608                                        50 W Washington, Rm 801
                                                                  Chicago, IL 60602
     Daley Center Divisions/Departments                           Hours: 8:30 am - 4:30 pm

     O   Civil Division                                    o      Traffic Division
         Richard J Daley Center                                   Richard J Daley Center
         50 W Washington, Rm 601                                  50 W Washington, Lower Level
         Chicago, IL 60602                                        Chicago, IL 60602
         Hours: 8:30 am - 4:30 pm                                 Hours: 8:30 am - 4:30 pm

     O   Chancery Division
         Richard J Daley Center
         50 W Washington, Rm 802
         Chicago, IL 60602
         Hours: 8:30 am - 4:30 pm


         Dorothy Brown, Clerk of the Circuit Court of Cook County, lUinois       cookcountyclerkofcoutt.org
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                     Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 6 of 29 PageID #:7


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        Summons - Alias Summons                                                           (06/28/18) CCG 0001 COOK COUNTY, IL
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                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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       LASHOYNA TAYLOR
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       To each Defendant:                                                                LaSalle St., Suite 814 Chicago, IL
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                                                                               Witness:



       Atty. No.: 24797                                                                   DOROT]                           :k of Court

       Atty Name: Kralovec, Jambois & Schwartz
                                                                               Date of Service:
       Atty. for: Plaintiff                                                    (To be inserted by officerofT^py left with Defendant
       Address: 60 W. Randolph St., 4th Floor                                  or other person):
       City: Chicago                                         State:
       Zip: 60601
       Telephone: 312-782-2525
       Primary Email: j Schwartz (^kj s-law. com
       Secondary Email: chenry(§kj s -law. com
       Tertiary Email: kbarrette{^kjs-law.com
             Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                          cookcountyclerkofcourt.org
                                                                        Page 1 of 2
                Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 7 of 29 PageID #:7

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                 CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


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           5600 Old Orchard Rd                                       Hours; 8:30 am - 4:30 pm
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           District 6 - Markham
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           16501 S Kedzie Pkwy
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           Markham, IL 60428
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       n   Domestic Violence Court                                   Hours: 8:30 am - 4:30 pm
           555 W Harrison
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           Chicago, IL 60607
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       O   Juvenile Center Building                                  50 W Washington, Rm 1202
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           Chicago, IL 60602                                         Hours: 8:30 am - 4:30 pm
       O   Criminal Court Building                                   Law Division
           2650 S California Ave, Rm 526                             Richard J Daley Center
           Chicago, IL 60608                                         50 W Washington, Rm 801
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       Daley Center Divisions/Departments                            Hours: 8:30 am - 4:30 pm

       o   Civil Division                                     o      Traffic Division
           Richard J Daley Center                                    Richard J Daley Center
           50 W Washington, Rm 601                                   50 W Washington, Lower Level
           Chicago, IL 60602                                         Chicago, IL 60602
           Hours: 8:30 am - 4:30 pm                                  Hours: 8:30 am - 4:30 pm

       o   Chancery Division
           Richard J Daley Center
           50 W Washington, Rm 802
           Chicago, IL 60602
           Hours: 8:30 am - 4:30 pm


           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois       cookcountyclerkofcourt.org
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Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 8 of 29 PageID #:7           »
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     SAMSUNG ELECTRONICS AMERICA, INC, et al.
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     To each Defendant:                                                                LaSalle St., Suite 814 Chicago, IL
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     A tty Name: Kralovec, Jambois & Schwartz
                                                                             Date of Service:
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     Atty. for:. _Plaintiff
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                                                                             (To be inserted by officer oh'c^y left with Defendant
     Address: 60 W. Randolph St., 4th Floor                                  or other person):
     City: Chicago                                         State:
     Zip: 60601
     Telephone: 312-782-2525
     Primary Email: j s chwartz(^kj s-law. com
     Secondary Email: chenry(^kjs-law.com
     Tertiary Email: kbarrette(^kjs-law.com
           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois                          cookcountyclerkofcourt.org
                                                                      Page 1 of 2
                Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 10 of 29 PageID #:7
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                 CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS


O      O   Richard J Daley Center                            o       Domestic Relations Division
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           5600 Old Orchard Rd                                       Hours; 8:30 am - 4:30 pm
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           Skokie, IL 60077                                  O       Civd Appeals
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       o   District 5 - Bridgeview
                                                                     Chicago, IL 60602
           10220 S 76th Ave                                          Hours: 8:30 am - 4:30 pm
           Bridgeview, IL 60455
                                                              o      County Division
       O   District 6 - Markham                                      Richard J Daley Center
           16501 S Kedzie Pkwy                                       50 W Washington, Rm 1202
           Markham, IL 60428
                                                                     Chicago, IL 60602
       n   Domestic Violence Court                                   Hours: 8:30 am - 4:30 pm
           555 W Harrison                                     O      Probate Division
           Chicago, IL 60607                                         Richard J Daley Center
       O   Juvenile Center Budding                                   50 W Washington, Rm 1202
           2245 W Ogden Ave, Rm 13                                   Chicago, IL 60602
           Chicago, IL 60602                                         Hours: 8:30 am - 4:30 pm
       O   Criminal Court Budding                                    Law Dmsion
           2650 S California Ave, Rm 526                             Richard J Daley Center
           Chicago, IL 60608                                         50 W Washington, Rm 801
                                                                     Chicago, IL 60602
       Daley Center Divisions/Departments                            Hours: 8:30 am - 4:30 pm

       o   Chtil Division                                     o      Traffic Division
           Richard J Daley Center                                    Richard J Daley Center
           50 W Washington, Rm 601                                   50 W Washington, Lower Level
           Chicago, IL 60602                                         Chicago, IL 60602
           Hours: 8:30 am - 4:30 pm                                  Hours; 8:30 am - 4:30 pm

       o   Chancery Division
           Richard J Daley Center
           50 W Washington, Rm 802
           Chicago, IL 60602
           Hours: 8:30 am - 4:30 pm


           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois       cookcoimtyclerkofcourt.org
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Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 11 of 29 PageID #:7
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              DOC.TYPE:    LAW
              CASE NUMBER: 2019L005640
         i    DEFENDANT
              ___________                     SERVICE INF
              SANSUNG ELECTRONICS AMERICA INC RM 801 R A (
              208 S LASALLE ST
              CHICAGO, IL 60604
              STE814                                           *
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                     Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 12 of 29 PageID #:7
    >                                            12-Person Jury
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    s                                                                                                      2019L005640
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                         V.                                                  )         No.                                      i-
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                  SAMSUNG ELECTRONICS AMERICA, INC., a                       )
    lO
                  New York corporation, SAMSUNG SDI CO., LTD.,               )
    LIJ           a Foreign corporation, SAMSUNG SDI AMERICA,                )
    <             INC., a California corporation, and T-MOBILE               )
    Q
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    UJ
                  USA, INC., a Delaware corporation.                         )
    Li.                                                                      )
                                         Defendants.                         )
                                                                             )                                                  :
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                                                       COMPLAINT AT LAW

                         NOW COMES, the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys.

                  KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG

                  ELECTRONICS AMERICA, INC., states as follows:                                                                     i

                                   COUNT I - SAMSUNG ELECTRONICS AMERICA. INC
                                                    (Negligence)

                          1.     At all times relevant hereto. Plaintiff, LASHOYNA TAYLOR, was and is a
                                                                                                                                    L
                                                                                                                                    I
                  citizen and resident of Palos Hills, County of Cook, in the State of Illinois.
                                                                                                                                    i
                         2.      At all times relevant hereto, a substantial part of the coimts giving rise to

                  Plaintiffs complaint occurred in Cook County, State of Illinois.                                                  i


                         3.      Defendant, SAMSUNG ELECTRONICS AMERICA, INC. (“Samsung
                                                                                                                                    i

                  America”), is, and at all relevant times was, a New York corporation and a subsidiary of                          ir




I                 Samsung Electronics Co. LTD. Samsung Electronics is a consumer and industrial electronic                          k
                                                                                                                                    ;
                                                                                                                                    I
                                                                                                                                    4-
                  manufacturer. It researches, develops, tests, produces, markets, promotes, and sells electronic

                  products including the Samsung Galaxy S7 Edge used by Plaintiff

                                                              Page 1 of 16
                 Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 13 of 29 PageID #:7

          t




                     5.       Defendant, SAMSUNG SDI CO., LTD., (“Samsung SDI”), is, and at all times
                                                                                                                      1
    O         relevant to this action was, a foreign corporation incorporated in South Korea. Samsung SDI is
    CO
    IT)
    O

    O)        an electronics components manufacturer which specializes in lithium-ion batteries. It researches,
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    CM

              develops, tests, markets, promotes, and sells batteries used in electronics such as Galaxy S7 Edge      :
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    a>        phones.
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                        6.    Defendant, SAMSUNG SDI AMERICA, INC. (“Samsimg SDI America”), is.
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    Q
              and at all relevant times was, a California corporation. It is a subsidiary of Samsung SDI. It also
    O
    LU
    Li.       researches, develops, tests, markets, promotes, distributes, provides support services, and sells

              electronic components such as the batteries used in Galaxy S7 Edge phones.
                                                                                                                          •f



                        7.    Defendant, T-MOBILE USA, INC. (“T-Mobile”), is, and at all relevant times

              was, a Delaware corporation. It is a telecommunications company and, along with selling other

              telecommunication services, it sells and advertises phones, including the Galaxy S7 Edge used

!             by Plaintiff It sells its phones through its website and brick and motor stores nationwide.                  V




                        8.    Defendants are individually, jointly, and severally liable to Plaintiff for damages

              she suffered which arose from Defendants’ design, manufacture, marketing, labeling,

              distribution, and sale of the defective Samsung Galaxy S7 Edge at issue in this action,                      I
                                                                                                                               i
              effectuated directly and indirectly though their respective agents, servants, employees, and/or
i
               owners, all acting within the course and scope of their representative agencies, services,
                                                                                                                               i
               employments and/or ownerships.

                         9.   That prior to February 19, 2018, all Defendants conducted business and derived
                                                                                                                               k

               substantial revenue from Illinois and Cook County, Illinois. Defendants have sufficient minimum                 i
i
?                                                                                                                              f
               contacts with, and have purposefully availed themselves to, Illinois in ways that justifies Illinois
I                                                                                                                              i
               exercising jurisdiction.                                                                                            i




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                 10.        That on February 19, 2018, the Galaxy S7 Edge phone giving rise to this suit
                                                                                                                    1
    O
    S     exploded while Plaintiff was at work located at 909 W. Euclid Avenue, Arlington Heights, Cook
    o
    g
    o>    County, Illinois.
    O
                                                                                                                    i-
    5
    Q.
                  11.       This Court may exercise jurisdiction over Defendants under the laws of Illinois,

    o>    the Illinois Constitution, and the Constitution of the United States.
    O                                                                                                               1.
    CM


    s             12.       Venue is proper in this Court as a substantial part of the counts giving rise to this
    LLI
    I-
    <
    Q     complaint occurred in Cook County, Illinois and Plaintiff is also a Cook County resident.
    Q
    LU
    Li.           13.       On June 6, 2016, Plaintiff, LASHOYNA TAYLOR, purchased the Galaxy S7

          Edge phone at issue from a T-Mobile Store located at 7600 W. 95*'’ Street, Suite 3, Hickory Hills,            ?


          Illinois 60457.

                  14.       On and prior to February 19, 2018, Plaintiff operated the Galaxy S7 Edge in a

          manner for which it is reasonably intended or in a reasonably foreseeable manner.

                  15.       At all relevant times. Defendant, SAMSUNG ELECTRONICS AMERICA, '

          INC, had a duty to use ordinary care in its design, preparation, manufacture, advertisement,

          distribution, supply, and sale of their Galaxy S7 Edge phones, so that their Galaxy S7 Edge
i
          phones would be safe for use by consumers such as Plaintiff.
E
                                                                                                                         [
                  16.       Before and at the time that Defendant, SAMSUNG ELECTRONICS                                      i

          AMERICA, INC, manufactured and placed into the stream of commerce the Galaxy S7 Edge

          phone used by Plaintiff, the Defendant was careless and negligent in one or more of the

          following ways:

                             (a)    Sold Galaxy S7 Edge phones when Defendant knew or should have                           i
i                                   known that its Galaxy S7 Edge phones were designed and manufactured
I                                   with a propensity to suddenly explode or burst into flames;

                             (b)    Failed to provide adequate instructions or warnings for the use of its
                                    Galaxy S7 Edge phones;

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                         (c)       Failed to warn of the dangerous propensities of its Galaxy S7 Edge          L
      O
                                   phones, including but not limited to the risk of sudden explosion;
      o

      O)                 (d)       Failed to discover the defective condition of its Galaxy S7 Edge phones;
                                                                                                               4-


      Q.
                         (e)       Failed to appropriately test its Galaxy S7 Edge phones before offering
                                                                                                               i
                                   them for sale; and/or
                                                                                                               r
      O)
      5
      CM                 (f)       Failed to inspect the components supplied by outside manufacturers which    i-
      ?5
                                   were incorporated into its Galaxy S7 Edge phones.
      m
      I-
      <
      Q
                  17.    As a direct and proximate result of one or more of the aforementioned careless
      Q
      LU

           and negligent acts and/or omissions of the Defendant, SAMSUNG ELECTRONICS

           AMERICA, INC, the Plaintiff, LASHOYNA TAYLOR, sustained serious and permanent                        1
           injuries; was required to seek extensive medical consultation and treatment; has expended, and

           will in the future expend, great sums of money to be cured of her maladies; suffered, and will in

           the future continue to suffer, great pain, anguish, and physical and mental suffering; and was

           deprived of earnings to which she might otherwise have been entitled.

                  WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the

           Defendant, SAMSUNG ELECTRONICS CO., LTD, in such amount in excess of this Court’s

           jurisdictional requisite as will fairly and adequately compensate the Plaintiff for her injuries,        I
[                                                                                                                   I
:>
;          losses, and damages as hereinabove alleged.

                           COUNT II - SAMSUNG ELECTRONICS AMERICA. INC.
                                         (Strict Product Liability)

                  NOW COMES, the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys.                          i

 •;
i          KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG                                  i

                                                                                                                    i
I          ELECTRONICS AMERICA, INC., states as follows:
5                                                                                                                   !
                                                                                                                    I
I
                   1. - 14. For paragraphs 1 through 14 of Count II, Plaintiff re-alleges and incorporates          3

                                                                                                                    {

           paragraphs 1 through 14 of Count I.

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                               I
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                     15.    At the time the Galaxy S7 Edge phone was manufactured, sold, and left the
        O
        s     possession of the Defendant, SAMSUNG ELECTRONICS AMERICA, INC., the Galaxy S7
        o
        g
        Oi    Edge phone was defective, unsafe, and unreasonably dangerous for their intended and
                                                                                                                  i-


        5
        Q_
              foreseeable use in one or more of the following ways:
                                                                                                                  F
        O)                  (a)     The Galaxy S7 Edge phones were unreasonably dangerous in design due           V

        5                                                                                                         i-
        CM                          to the high degree of risk that the Galaxy S7 Edge would suddenly
        c5
        §                           explode or discharge its battery contents;
        lii
        h-
        <                    (b)    The Galaxy S7 Edge phones were unreasonably dangerous due to
        Q
        a                           manufacturing defects or omissions, which caused a propensity to
        o:                          suddenly explode or discharge its battery contents;

                             (c)    The Galaxy S7 Edge phones were unreasonably dangerous in that the              S’


                                    Defendant provided inadequate safety devices, thereby failing to prevent
                                    their product from causing injury; and/or

                             (d)    The Galaixy S7 Edge phones were umeasonably dangerous in that the
                                    Defendant failed to warn the users of the dangerous condition of their
                                    Galaxy S7 Edge phones, including but not limited to the risk of sudden
                                    explosion.
1

                      16.    As a direct and proximate result of one or more of the aforementioned careless

              and negligent acts and/or omissions of the Defendant, SAMSUNG ELECTRONICS CO.,

              LTD, the Plaintiff, LASHOYNA TAYLOR, sustained serious and permanent injuries; was
(                                                                                                                      \
‘r

i
              required to seek extensive medical consultation and treatment; has expended, and will in the
C



              future expend, great sums of money to be cured of her maladies; suffered, and will in the future

              continue to suffer, great pain, anguish, and physical and mental suffering; and was deprived of

              earnings to which she might otherwise have been entitled.

                      WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the                            4

i
                                                                                                                       5
5              Defendant, SAMSUNG ELECTRONICS CO., LTD, in such amount in excess of this Court’s                        I

                                                                                                                       5
                                                                                                                        !
    ?
    -         jurisdictional requisite as will fairly and adequately compensate the Plaintiff for her injuries,         ]



               losses, and damages as hereinabove alleged.

                                                         Page 5 of 16
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                                     COUNT III - SAMSUNG SDI CO.. LTD
                                                 (Negligence)                                                    i
     o                                                                                                           i
     S
     O
     g
                  NOW COMES, the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys,
     Oi
                                                                                                                 )
     a     KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG
     2
     Ql
           SDI CO., LTD., states as follows;
                                                                                                                 >:
     O)
     5
     CM           1. - 14. For paragraphs 1 through 14 of Coimt III, Plaintiff re-alleges and incorporates       ?■



     IT)
     lJ    paragraphs 1 through 14 of Count 1.
     <
     Q
     Q
     LU           15.    At all relevant times. Defendant, SAMSUNG SDI CO., LTD., had a duty to use
     g:
           ordinary care in the design, preparation, manufacture, advertising, distribution, supply, and sale
                                                                                                                     I
           of its batteries used in Galaxy S7 Edge phones, so that its batteries would be safe for use by

           consumers such as Plaintiff.

                  16.     Before and at the time that Defendant, SAMSUNG SDI CO., LTD.,

           manufactured and placed into the stream of commerce the battery incorporated in the Galaxy S7
                                                                                                                      I
           Edge phone used by Plaintiff, the Defendant was careless and negligent in one or more of the

           following ways:

                          (a)     Manufactured and supplied batteries which were incorporated into Galaxy
                                  S7 Edge phones when Defendant knew or should have known that their                  I
                                                                                                                      I
                                  batteries were designed and manufactured Avith a propensity to suddenly
                                                                                                                      i:
                                  explode or burst into flames;

                          (b)     Failed to provide adequate instructions or warnings regarding the dangers
                                  their batteries posed;

                          (c)     Failed to warn of the dangerous propensities of their batteries,
                                  including but not limited to the risk of sudden explosion or sudden                     i

                                  discharge of its content;
i                                 Failed to discover the defective condition of their batteries;
                          (d)
I
■I
                           (e)    Failed to appropriately test their batteries before offering them electronic
                                  manufacturers to incorporated into their products such as the Galaxy S7
                                  Edge phones; and/or

                                                       Page 6 of 16
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                         (f)    Failed to inspect the batteries before selling, shipping, or offering the     I
    O                           batteries to electronic manufacturers.
    so
    5)            17.    As a direct and proximate result of one or more of the aforementioned careless

           and negligent acts and/or omissions of the Defendant, SAMSUNG SDI CO., LTD., the Plaintiff,        !
    Q.                                                                                                        \
                                                                                                              !
    o>     LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to seek                    i

    o

     Ci
     lO
           extensive medical consultation and treatment; has expended, and will in the future expend, great
     lii
     <
     Q     sums of money to be cured of her maladies; suffered, and will in the future continue to suffer,
     Q

     E     great pain, anguish, and physical and mental suffering; and was deprived of earnings to which

           she might otherwise have been entitled.                                                                I
                   WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the

           Defendant, SAMSUNG SDI CO., LTD., in such amount in excess of this Court’s jurisdictional

           requisite as will fairly and adequately compensate the Plaintiff for her injuries, losses, and

           damages as hereinabove alleged.                                                                        I
;
                                         COUNT IV- SAMSUNG SDI CO.. LTD.
                                              (Strict Product Liability)

                  NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through her attorneys,
                                                                                                                  I
                                                                                                                  V

           KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG
■




                                                                                                                      ]
                                                                                                                  i

           SDI CO., LTD., states as follows:
                                                                                                                      1
                   1. - 14. For paragraphs 1 through 14 of Count fV, Plaintiff re-alleges and incorporates
                                                                                                                      !
           paragraphs 1 through 14 of Coimt I.

                   15.    At the time the battery was manufactured, sold, and left the possession of the
i3          Defendant, SAMSUNG SDI CO., LTD., to be incorporated into electronics such as the Galaxy
i
3
            S7 Edge phones, the battery was defective, unsafe, and unreasonably dangerous for their

            intended and foreseeable use in one or more of the following ways:

                                                      Page 7 of 16
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                        (a)    The batteries were unreasonably dangerous in design due to the high
                               degree of risk that the batteries would suddenly explode or discharge its
    O
                               contents;                                                                     i
    So
    3
    Oi                  (b)    The batteries were unreasonably dangerous due to manufacturing defects
    o
                                                                                                             '
    CN                         or omissions, which caused a propensity to suddenly explode or discharge
    2                          its contents;                                                                 :
    Q.

    CO
    o>                  (c)    The batteries were unreasonably dangerous in that the Defendant provided
    3                          inadequate safety devices, thereby failing to prevent their product from      t
    CO

    CO
                               causing injury; and/or
    LU
    <
    o                   (d)    The batteries were unreasonably dangerous in that the Defendant failed to
    Q
    LiJ
                               warn the users of the dangerous condition of their batteries, including but
    U-                         not limited to the risk of sudden explosion.

                 16.    As a direct and proximate result of one or more of the aforementioned careless           t
                                                                                                                 4


          and negligent acts and/or omissions of the Defendant, SAMSUNG SDI CO., LTD., the Plaintiff,

          LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to seek

          extensive medical consultation and treatment; has expended, and will in the future expend, great

          sums of money to be cured of her maladies; suffered, and will in the future continue to suffer,        >

          great pain, anguish, and physical and mental suffering; and was deprived of earnings to which

          she might otherwise have been entitled.
                                                                                                                 i
i
                 WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the                           i:
                                                                                                                     ?

          Defendant, SAMSUNG SDI CO., LTD., in such amount in excess of this Court’s jurisdictional                  4




          requisite as will fairly and adequately compensate the Plaintiff for her injuries, losses, and

          damages as hereinabove alleged.

                                 COUNT V- SAMSUNG SDI AMERICA. INC.
                                             (Negligence)                                                            I

                                                                                                                     ;
1
5                NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys,                             I
                                                                                                                     !
i                                                                                                                    i
s
          KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG                                    ;
                                                                                                                         >
          SDI AMERICA, INC., states as follows:

                                                    Page 8 of 16
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                  1. -14. For paragraphs 1 through 14 of Count V, Plaintiff re-alleges and incorporates
     O
     <o
           paragraphs 1 through 14 of Count I.
     lO
     o
     O)           15.     At all relevant times, Defendant, SAMSUNG SDI AMERICA, INC., had a duty
                                                                                                                  i-

     5
     Q.
           to use ordinary care in the design, preparation, manufacture, advertising, distribution, supply, and
     n
     o>    sale of its batteries used in Galaxy S7 Edge phones, so that its batteries would be safe for use by    f
     5                                                                                                            t

     §     consumers such as Plaintiff.
     lii
     h-
     <
     Q             16.    Before and at the time that Defendant, SAMSUNG SDI CO., LTD.,
     Q ■
     HI

     ii    manufactured and placed into the stream of commerce the battery incorporated in the Galaxy S7

           Edge phone used by Plaintiff, the Defendant was careless and negligent in one or more of the

           following ways:

                          (a)     Manufactured and supplied batteries which were incorporated into Galaxy
                                  S7 Edge phones when Defendant knew or should have known that its
                                  batteries were designed and manufactured with a propensity to suddenly
                                  explode or burst into flames;

                           (b)    Failed to provide adequate instructions or warnings regarding the dangers
                                  its batteries posed;

                           (c)    Failed to warn of the dangerous propensities of its batteries,
                                  including but not limited to the risk of sudden explosion or sudden
                                  discharge of its content;
                                                                                                                   t
                                                                                                                      f
i
                           (d)    Failed to discover the defective condition of its batteries;

                           (e)    Failed to appropriately test its batteries before offering them electronic
1
                                  manufacturers to incorporated into their products such as the Galaxy S7
                                  Edge phone; and/or

                           (f)     Failed to inspect its batteries before selling, shipping, or offering the
                                   batteries to electronic manufacturers.
s
                           As a direct and proximate result of one or more of the aforementioned careless             !
s                   17.                                                                                               T
2
!                                                                                                                     I
            and negligent acts and/or omissions of the Defendant, SAMSUNG SDI AMERICA, INC., the
1.

            Plaintiff, LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to

                                                        Page 9 of 16
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             seek extensive medical consultation and treatment; has expended, and will in the future expend,
        O
        s    great sums of money to be cured of her maladies; suffered, and will in the future continue to
        o
        g
        Oi   suffer, great pain, anguish, and physical and mental suffering; and was deprived of earnings to
.°
        Q.
             which she might otherwise have been entitled.
        CO
        o>          WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the
        5
        CM
                                                                                                                 r:
        CO

        S    Defendant, SAMSUNG SDI AMERICA, INC., in such amount in excess of this Court’s
        lJ
        h-
        <    jurisdictional requisite as will fairly and adequately compensate the Plaintiff for her injuries,
        Q
        Q

        E    losses, and damages as hereinabove alleged.

                                    COUNT VI- SAMSUNG SDI AMERICA. INC.
                                           (Strict Product Liability)

                    NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys.

             KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, SAMSUNG

             SDI AMERICA, INC., states as follows:

                     1. - 14. For paragraphs 1 through 14 of Count VI, Plaintiff re-alleges and incorporates

             paragraphs 1 through 14 of Count I.

                     15.    At the time the battery was manufactured, sold, and left the possession of the
1            Defendant, SAMSUNG SDI AMERICA, INC., to be incorporated into electronics such as the
                                                                                                                  I
;=
!■




             Galaxy S7 Edge phones, the battery was defective, unsafe, and unreasonably dangerous for their
                                                                                                                  i


             intended and foreseeable use in one or more of the following ways:

                            (a)     The batteries were unreasonably dangerous in design due to the high
                                    degree of risk that the batteries would suddenly explode ondischarge its       i

                                    contents;                                                                      i


i
■                           (b)     The batteries were unreasonably dangerous due to manufacturing defects       • T
                                                                                                                   i
                                    or omissions, which caused a propensity to suddenly explode or discharge      I
    i                               its contents;                                                                  i



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                             (c)      The batteries were unreasonably dangerous in that the Defendant provided
                                      inadequate safety devices, thereby failing to prevent its product from       j.

      §
      (O
                                      causing injury; and/or
          lO
      o
      3
      05                     (d)      The batteries were uiueasonably dangerous in that the Defendant failed to
      5
      CM                              warn the users of the dangerous condition of its batteries, including but    i.




          Q.
                                      not limited to the risk of sudden explosion.                                  i



          CO
          O)          16.    As a direct and proximate result of one or more of the aforementioned careless         f.

                                                                                                                    r
          3
          ?5
          lO
               and negligent acts and/or omissions of the Defendant, SAMSUNG SDI AMERICA, INC., the
          LU
          H
          <
          Q
               Plaintiff, LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to
          Q
          LU
          U.   seek extensive medical consultation and treatment; has expended, and will in the future expend,

               great sums of money to be cured of her maladies; suffered, and will in the future continue to

               suffer, great pain, anguish, and physical and mental suffering; and was deprived of earnings to

               which she might otherwise have been entitled.

                      WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the

               Defendant, SAMSUNG SDI AMERICA, INC., in such amount in excess of this Court’s                            i.




               jurisdictional requisite as will fairly and adequately compensate the Plaintiff for her injuries,

               losses, and damages as hereinabove alleged.

I                                           COUNT VII - T-MOBILE-USA. INC.                                               i
!i                                                                                                                       T
                                                                                                                         t
i
                                              (Breach of Implied Warranty)
I*.


                      NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys,
                                                                                                                          I


               KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, T-MOBILE

               USA, INC., states as follows;                                                                                  i

                                                                                                                              i

                       1. - 14. For paragraphs 1 through 14 of Count VII, Plaintiff re-alleges and incorporates               .1
■i




i
               paragraphs 1 through 14 of Count L                                                                             i
"
I
    i                  15.    The Galaxy S7 Edge was unreasonably dangerous because it did not conform to
      i


                implied warranties.

                                                          Page 11 of 16
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                16.    At all relevant and material times, Defendant, T-MOBILE USA, INC., marketed.
                                                                                                              i
    O
         labeled, sold, distributed, and otherwise placed in to the stream of commerce Galaxy S7 Edge         i
    S
    g
    3
    Oi   phones including the Galaxy S7 Edge at issue here.
    5
    CM

    2
    0.
                17.    Defendant, T-MOBILE USA, INC., impliedly warranted that the Galaxy S7
    CO
    O)   Edge phone was merchantable and was fit for the ordinary purpose for which it was intended.          r
                                                                                                              i...
    o

    CM
    55
                18.    Defendant, T-MOBILE USA, INC., impliedly warranted that its product was of
    LU
    H
    <
    a    merchantable quality, safe and fit for the indented regular phone use by Plaintiff, and was
    a
    LU
    u.   properly and adequately tested prior for the ordinary purposes for which it was intended.

                 19.    When the Galaxy S7 Edge was used by Plaintiff, it was being used for its intended

         purposes of and in accordance with the instructions for use and product specifications provided

         by Defendants.

                 20.      The Plaintiff was a foreseeable user of the Galaxy S7 Edge phone and was in

         privity with Defendant, T-MOBILE USA, INC.

                 21.      Defendant, T-MOBILE USA, INC., breached implied warranties with respect to

         their Galaxy S7 Edge, including, but not limited to the following particulars:

                          (a)    Defendants represented to Plaintiff labeling, advertising, marketing             t-
                                 materials, user manuals, and sales representatives that the Galaxy S7 Edge
5                                was of merchantable quality and safe when used for its intended purpose          i

                                 while the Galaxy S7 Edge actually possessed an unreasonable danger of
                                 sudden explosion and discharging its harmful battery contents; and/or
                                                                                                                  ■;




                          (b)    Defendants represented to Plaintiff through its labeling, advertising,
                                 marketing materials, user manuals, and sales representatives that the
                                 Galaxy S7 Edge phone was as safe as other phones available on the
                                 market while it actually contained a dangerous propensity for sudden
                                 explosion and potential discharge of its contents.
!                                                                                                                 1
-
3                22.      Plaintiff relied upon Defendant’s, T-MOBILE USA, INC., implied warranties in             I
                                                                                                                  I
i                                                                                                                  S

          purchasing and using the Galaxy S7 Edge.


                                                    Page 12 of 16
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                  23.    Defendant, T-MOBILE USA, INC., breached their implied warranties to
                                                                                                                  i
     O
     (D
           Plaintiff because the Galaxy S7 Edge was not of merchantable quality, safe and fit for its
     lO
     O
     _J
     O)    intended use as warranted, nor was it adequately tested prior to being placed in the stream of
                                                                                                                  4
                                                                                                                  i
     2
     Q-
           commerce.
     <fo
                          As a direct and proximate result of Defendant’s, T-MOBILE USA, INC., breach
                                                                                                                  ■<



     o>           24.
     o                                                                                                            r
     CM
     ?5
     lO
           of the aforementioned implied warranties, the Plaintiff, LASHOYNA TAYLOR, sustained
     LU
     H
     <
     Q     serious and permanent injuries; was required to seek extensive medical consultation and
     Q
     111

     C     treatment; has expended, and will in the future expend, great sums of money to be cured of her

           maladies; suffered, and will in the future continue to suffer, great pain, anguish, and physical and       ;
                                                                                                                   4
                                                                                                                  -i-


           mental suffering; and was deprived of earnings to which she might otherwise have been entitled.

                  WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the

           Defendant, T-MOBILE USA, INC., in such amount in excess of this Court’s jurisdictional
{
           requisite as will fairly and adequately compensate the Plaintiff for her injuries, losses, and              I


           damages as hereinabove alleged.

                                        COUNT VHI - T-MOBILE-USA. INC
                                                 (Negligence)                                                             \
:•                                                                                                                     r
I
*                  NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys.
t

           KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, T-MOBILE                                       4-


                                                                                                                          }




L
           USA, INC., states as follows;
                                                                                                                           i

                   1. - 14. For paragraphs 1 through 14 of Count VIII, Plaintiff re-alleges and incorporates               ;

           paragraphs 1 through 14 of Count I.                                                                             £•




I
■                  15.     At all relevant times. Defendant, T-MOBILE USA, INC., had a duty to use                        i
                                                                                                                          ?
                                                                                                                           i
I                                                                                                                          I
1           ordinary care in the advertising, distributing, supplying, and selling of the Galaxy S7 Edge
                                                                                                                            !
                                                                                                                              i




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          phones, so that their Galaxy S7 Edge phones would be safe for use by consumers such as
                                                                                                                   1
    O
    sg    Plaintiff.
    3                        Before and at the time that Defendant, T-MOBILE USA, INC., sold the Galaxy
    Oi            16.
    O
    CN
                                                                                                                   ^.

    Ql
          S7 Edge to the Plaintiff, the Defendant was careless and negligent in one or more of the
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    o>    following ways:                                                                                          i..
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                             (a)   Advertised, distributed, and sold the Galaxy S7 Edge phone when
    LU                             Defendant knew or should have known that the Galaxy S7 Edge phone
    <                              was unreasonably dangerous due to its propensity to suddenly explode or
    a
    a                              burst into flames;
    UJ
    LL


                             (b)   Failed to provide adequate instructions or warnings regarding the dangers
                                   of the Galaxy S7 Edge phone;                                                        f



                             (c)    Failed to warn of the dangerous propensities of the Galaxy S7 Edge
                                    including but not limited to the risk of sudden explosion or sudden
                                    discharge of its battery contents;

                             (d)    Failed to discover the defective condition and unreasonably dangerous
                                    nature of the Galaxy S7 Edge phone; and/or                                     ■ f

                                                                                                                        i.

                             (e)    Failed to appropriately inspect the Galaxy S7 Edge phone before
                                    advertising, distributing, or selling the Galaxy S7 Edge phones to Plaintiff
                                    and the public.

                       17.   As a direct and proximate result of one or more of the aforementioned careless
I                                                                                                                       I
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i
           and negligent acts and/or omissions of the Defendant, T-MOBILE USA, INC., the Plaintiff,

           LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to seek

           extensive medical consultation and treatment; has expended, and will in the future expend, great

           sums of money to be cured of her maladies; suffered, and will in the future continue to suffer,

           great pain, anguish, and physical and mental suffering; and was deprived of earnings to which
                                                                                                                             i
1
           she might otherwise have been entitled.                                                                           1
i                                                                                                                            i
                       WHEREFORE, Plaintiff, LASHOYNA TAYLOR, prays for judgment against the
                                                                                                                             i
           Defendant, T-MOBILE USA, INC., in such amount in excess of this Court’s jurisdictional

                                                        Page 14 of 16
              Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 26 of 29 PageID #:7




           requisite as will fairly and adequately compensate the Plaintiff for her injuries, losses, and
                                                                                                               i
     O
     (O
           damages as hereinabove alleged.
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     3
     a>                                COUNT IX - T-MOBILE-USA. INC
     5
     CM                                   (Strict Product Liability)                                           i-

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                  NOW COMES the Plaintiff, LASHOYNA TAYLOR, by and through his attorneys.                      r•
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     3     KRALOVEC, JAMBOIS & SCHWARTZ, and complaining of the Defendant, T-MOBILE                            5-
     CO

     to
     LiJ   USA, INC., states as follows:
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     a            1. - 14. For paragraphs 1 through 14 of Count IX, Plaintiff re-alleges and incorporates
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     LL

           paragraphs 1 through 14 of Count I.

                  15.    At the time the Galaxy S7 was advertised, marketed, distributed, sold, and left the

           possession of the Defendant, T-MOBILE USA, INC., the Galaxy S7 Edge phone was defective,

           unsafe, and unreasonably dangerous for its intended and foreseeable use in one or more of the
                                                                                                                   1

           following ways:
                                                                                                                   1

                          (a)    The Galaxy S7 Edge phone was unreasonably dangerous in design due
                                 to the high degree of risk that the Galaxy S7 Edge would suddenly
                                 explode or discharge its battery contents;

                          (b)    The Galaxy S7 Edge phone was unreasonably dangerous due to
                                 manufacturing defects or omissions, which caused a propensity to                  i:
                                                                                                                   ?
                                 suddenly explode or discharge its battery contents;
i
                                                                                                                    I

                          (c)    The Galaxy S7 Edge phone was unreasonably dangerous in that the
                                 Defendant provided inadequate safety devices, thereby failing to prevent
                                 its product from causing injury; and/or

                          (d)    The Galaxy S7 Edge phone was unreasonably dangerous in that the
i:
                                 Defendant failed to warn the users of the dangerous condition of its
                                 Galaxy S7 Edge phones, including but not limited to the risk of sudden
                                 explosion.
*s
                                                                                                                    -
                   16.    As a direct and proximate result of one or more of the aforementioned careless            I
                                                                                                                       i

            and negligent acts and/or omissions of the Defendant, T-MOBILE USA, INC., the Plaintiff,                    ;



                                                    Page 15 of 16
              Case: 1:19-cv-04526 Document #: 1-1 Filed: 07/03/19 Page 27 of 29 PageID #:7




          LASHOYNA TAYLOR, sustained serious and permanent injuries; was required to seek

    1     extensive medical consultation and treatment; has expended, and will in the future expend, great
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    Oi    sums of money to be cured of her maladies; suffered, and will in the future continue to suffer,
    o                                                                                                        1.

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          great pain, anguish, and physical and mental suffering; and was deprived of earnings to which
    CO
    o>    she might otherwise have been entitled.
                                                                                                             r
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    C'J
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    §            WHEREFORE, Plaintiff, LASHOYTVA TAYLOR, prays for judgment against the
    lij
    h-
    <     Defendant, T-MOBH.E USA, EVC., in such amount in excess of this Court’s jurisdictional
    Q
    Q
    UJ
    il    requisite as will fairly and adequately compensate the Plaintiff for her injuries, losses, and

          damages as hereinabove alleged.



                                                              RespectfullwSubmitted:



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                                                              Je:        ;hwartz
                                                              Attorney^r the Plaintiff


          KRALOVEC, JAMBOIS & SCHWARTZ
                                                                                                              I
          60 W. Randolph St., 4th Floor                                                                       I
          Chicago, Illinois 60601
          Ph: 312-782-2525
          Fx: 312-855-0068
          Firm No. 24797



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                                                                                              DOROTHY BROWN
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                                  COUNTY DEPARTMENT - LAW DIVISION                            2019L005640         i
     O                                                                                                            t
     s                                                                                                            1
               LASHOYNA TAYLOR,                                   )
     §
     05                                                           )
                                   Plaintiff,                     )                                               1
     5                                                            )                                               i
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                    V.                                            )         No. 2019L005640                       k!
     n
     a>                                                           )
     O
               SAMSUNG ELECTRONICS AMERICA, INC., a )                                                              t
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               New York corporation, SAMSUNG SDI CO., LTD., )
     LU        a Foreign corporation, SAMSUNG SDI AMERICA, )
     <         INC., a California corporation, and T-MOBILE )
     O
     o         USA, INC., a Delaware corporation.           )
     UJ
     UL                                                            )
                                   Defendants.                     )
                                                                   )                                                  f


                                                    JURY DEMAND


                     The undersigned demands a trial by jury.

                                                                                                                      <

                                                         BY:
                                                                Jeffrey C. Smwartz


               Jeffrey C. Schwartz                                                                                    i
i              KRALOVEC, JAMBOIS & SCHWARTZ                                                                               i
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                              COUNTY DEPARTMENT, LAW DIVISION                                          COOK COUNTY, IL
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                                                                                                       2019L005640
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    o     LASHOYNA TAYLOR,                                      )
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    O)                                                          )                                      5171557
                                                                                                                           •I
    3                          Plaintiff,                       )
    5                                                           )                                                           i
    Q.                                                                                2019L005640
                V.                                              )            No.                                           i-.
    CO
                                                                )
                                                                                                                           r
    O)
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    O     SAMSUNG ELECTRONICS AMERICA, INC., a                  )
    a     New York corporation, SAMSUNG SDI CO., LTD.,          )
    to
    111   a Foreign corporation, SAMSUNG SDI AMERICA,           )
    <
    Q
          INC., a California corporation, and T-MOBILE          )
    G
    Lll
          USA, INC., a Delaware corporation.                    )
    Li.                                                         )
                               Defendants.                      )
                                                                )

                                             AFFIDAVIT OF DAMAGES
                                            SUPREME COURT RULE 222


                  The undersigned being first duly sworn upon oath, deposes and states that he is the
          attorney representing the Plaintiff in the above entitled cause of action seeking money damages
          or collection of taxes and states that this cause of action does exceed $50,000.00.                                   T




                                                                         /
                                                             Jeff^W ^Lwartz

                                                             Attorneyfor the Plaintiff
                                                                                                                                r
                                                                                                                                ?

          SUBSCRIBED AND SWORN to before
          me on this •j? day of[Aad._______. 2019.                                                                              i


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                                                                               ANASTASIA DAHUBaS
          NOTAkY PUBLIC                                                           OFFICIAL SEAL
                                                                             NotBfV Public. Stale ol Illinois
                                                                              Mv Commission Expnes
          KRALOVEC, JAMBOIS & SCHWARTZ                                               August 02. 2022
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          Chicago, IL 60601                                                                                                     E
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          (312) 782-2525                                                                                                        f
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